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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


JOSEPH HEBERT, individually and on              :
behalf of all others similarly situated,
                                                :
                 Plaintiffs,                           NO. 2:17-CV-00852-GCS-KAJ
                                                :
vs.
                                                :
CHESAPEAKE OPERATING, INC.
AND CHESAPEAKE                                  :
OPERATING, LLC,
                                                :
                 Defendants.
                                                :

            DEFENDANTS’ ANSWER AND ADDITIONAL DEFENSES
      TO FIRST AMENDED CLASS AND COLLECTIVE ACTION COMPLAINT

       Defendants Chesapeake Operating, Inc. and Chesapeake Operating, LLC (“Defendants”),

by and through their undersigned counsel, file this Answer and Additional Defenses to the First

Amended Class and Collective Action Complaint (“Complaint”) filed by Joseph Hebert

(“Plaintiff”). Defendants respectfully state and allege as follows:

                                        I.     SUMMARY

       1.        Defendants admit that Plaintiff purports to bring this action to recover allegedly

unpaid overtime wages and other damages pursuant to the Fair Labor Standards Act (“FLSA”)

and Ohio law. Except as expressly admitted, Defendants deny the allegations in Paragraph 1 of

the Complaint.

       2.        Answering Paragraph 2 of the Complaint, the use of the terms “worked for” are

ambiguous and subject to multiple meanings, and therefore Defendants deny Plaintiff worked for

Defendants. Defendants admit that Plaintiff performed certain contracted services as a “company

man” for the ultimate benefit of Defendants.
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       3.      Defendants are without sufficient knowledge or information to admit or deny as to

whether Plaintiff sometimes worked more than 40 hours in a week, and therefore such

allegations are denied. The use of the terms “other workers like them” and “regularly worked

for” are ambiguous; therefore, except as expressly admitted, Defendants deny the remaining

allegations in Paragraph 3 of the Complaint.

       4.      The allegations in Paragraph 4 of the Complaint are ambiguous as to whom

Plaintiff refers, and therefore Defendants are without sufficient knowledge or information to

admit or deny, and therefore such allegations are denied.

       5.      The allegations in Paragraph 5 of the Complaint regarding “those similarly

situated workers” are ambiguous as to whom Plaintiff refers, and therefore Defendants are

without sufficient knowledge or information to admit or deny, and therefore such allegations are

denied. Defendants deny Plaintiff was “improperly” classified or paid.

       6.      The allegations in Paragraph 6 of the Complaint are ambiguous as to whom

Plaintiff refers, and therefore Defendants are without sufficient knowledge or information to

admit or deny, and therefore such allegations are denied.

                            II.     JURISDICTION AND VENUE

       7.      Defendants admit that the Court has subject-matter jurisdiction over this lawsuit

but deny violating any laws supporting a claim for relief by Plaintiff and deny that this lawsuit is

properly maintained as a class or collective action. Except as expressly admitted, Defendants

deny the allegations in Paragraph 7 of the Complaint.

       8.      Defendants deny that this Court has jurisdiction over Plaintiff’s state law claims

under either the Class Action Fairness Act, 28 U.S.C. § 1332(d), or 28 U.S.C. §1367.

       9.      Defendants admit that venue could lie in this Court, but deny the remaining



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allegations of Paragraph 9 of the Complaint.

       10.      Answering Paragraph 10 of the Complaint, the use of the terms “performed work”

are ambiguous and subject to multiple meanings, and therefore Defendants deny Plaintiff worked

for Defendants. Defendants admit that Plaintiff performed certain contracted services as a

“company man” in Cadiz, Ohio (Harrison County). Defendants further admit that Chesapeake

Operating, LLC as a successor to Chesapeake Operating, Inc. conducts business operations in

this District and Division. Except as expressly admitted, Defendants deny the allegations in

Paragraph 10 of the Complaint.

                                     III.   THE PARTIES

       11.      Answering Paragraph 11 of the Complaint, the use of the terms “worked for” are

ambiguous and subject to multiple meanings, and therefore Defendants deny Plaintiff worked for

Defendants. Defendants admit that Plaintiff performed certain contracted services as a “company

man” for the ultimate benefit of Defendants.

       12.      Answering Paragraph 12 of the Complaint, Defendants deny they employed

Plaintiff. Defendants are without sufficient information to admit or deny whether any of the

stream of sub-contractors beneath Defendants, including Plaintiff’s company, paid him a day-

rate or classified him as an independent contractor, and therefore deny the allegations in

Paragraph 12.

       13.      Defendants admit that a document purporting to be a Consent to Join Wage Claim

dated July 21, 2017 was attached as Exhibit A to the original Complaint filed by Plaintiff.

Except as expressly admitted, Defendants deny the allegations in Paragraph 13 of the Complaint.

       14.      Defendants admit that Plaintiff purports to bring this action on behalf of himself

and “similarly situated workers.” The remaining allegations in Paragraph 14 of the Complaint



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are ambiguous as to whom Plaintiff refers, and therefore Defendants are without sufficient

knowledge or information to admit or deny, and therefore such allegations are denied.

       15.     Defendants admit that Plaintiff seeks to certify a class of allegedly similarly

situated individuals or putative class members. Defendants deny that this case is properly

maintained as a collective action or class action, deny that the class as pled is appropriate, deny

that Plaintiff is similarly situated to any or all of the persons who could fall within the class

definition, and further deny all remaining allegations in Paragraph 15 of the Complaint.

       16.     Defendants admit that Plaintiff seeks certification of a class under Fed. R. Civ. P

23 under the Ohio Wage Acts. Defendants deny that this case is properly maintained as a class

action and deny all remaining allegations in Paragraph 16 of the Complaint.

       17.     Chesapeake Operating, Inc. denies that it currently does business as an Oklahoma

corporation throughout the United States.         Defendants admit the remaining allegations of

Paragraph 17 of the Complaint.

       18.     Chesapeake Operating, LLC as a successor to Chesapeake Operating, Inc. admits

the allegations of Paragraph 18 of the Complaint.

                            IV.     COVERAGE UNDER THE FLSA

       19.     The allegations in Paragraph 19 of the Complaint consist of legal conclusions to

which no response is required. To the extent a response is required, the allegations are denied.

       20.     The allegations in Paragraph 20 of the Complaint consist of legal conclusions to

which no response is required. To the extent a response is required, the allegations are denied.

       21.     The allegations in Paragraph 21 of the Complaint consist of legal conclusions to

which no response is required. To the extent a response is required, the allegations are denied.

       22.     The allegations in Paragraph 22 of the Complaint consist of legal conclusions to

which no response is required.        Further, the definition of the Putative Class Members is

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overbroad and ambiguous, and Defendants are not able to determine to whom Plaintiff refers.

Therefore, Defendants deny the allegations in Paragraph 22 of the Complaint.

       23.    The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Defendants deny the allegations

of Paragraph 23 of the Complaint.

       24.    The allegations in Paragraph 24 of the Complaint consist of legal conclusions to

which no response is required. Further, the definition of the Putative Class Members is overbroad

and ambiguous, and Defendants are not able to determine to whom Plaintiff refers. Defendants

deny the allegations in Paragraph 24 of the Complaint.

                                        V.      FACTS

       25.    Defendants admit that an online corporate fact sheet sets forth certain information

recited in Paragraph 25 of the Complaint.

       26.    The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Defendants deny the allegations

in Paragraph 26 of the Complaint.

       27.    The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Defendants are further without

sufficient information to admit or deny whether any of the stream of sub-contractors beneath

Defendants, including Plaintiff’s company, paid him a day-rate or classified him as an

independent contractor. Defendants deny the allegations in Paragraph 27.

       28.    Answering Paragraph 28 of the Complaint, Defendants admit that Plaintiff may

have performed certain contracted services as a “company man” for the ultimate benefit of

Defendants from approximately January 2014 to January 2016. Defendants are further without

sufficient information to admit or deny whether any of the stream of sub-contractors beneath

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Defendants, including Plaintiff’s company, paid him a day-rate or classified him as an

independent contractor. Therefore, Defendants deny these and any other remaining allegations

in Paragraph 27..

       29.     Defendants admit that Plaintiff’s contracted responsibilities included monitoring

drilling operation and activities at certain field locations, but deny the remaining allegations of

Paragraph 29 of the Complaint.

       30.     Defendants deny the allegations of Paragraph 30 of the Complaint.

       31.     Defendants deny the allegations of Paragraph 31 of the Complaint.

       32.     Defendants deny the allegations of Paragraph 32 of the Complaint.

       33.     Defendants deny the allegations of Paragraph 33 of the Complaint.

       34.     Defendants deny the allegations of Paragraph 34 of the Complaint.

       35.     Defendants deny the allegations of Paragraph 35 of the Complaint.

       36.     Defendants deny the allegations of Paragraph 36 of the Complaint.

       37.     Defendants deny the allegations of Paragraph 37 of the Complaint.

       38.     Defendants deny the allegations of Paragraph 38 of the Complaint.

       39.     The allegations in Paragraph 39 of the Complaint are ambiguous and therefore

Defendants are without sufficient knowledge or information to admit or deny, and therefore such

allegations are denied.

       40.     Defendants are without sufficient knowledge or information to admit or deny the

allegations in Paragraph 40 of the Complaint, and therefore such allegations are denied.

       41.     Defendants deny the allegations of Paragraph 41 of the Complaint.

       42.     Defendants deny the allegations of Paragraph 42 of the Complaint.

       43.     Defendants deny the allegations of Paragraph 43 of the Complaint.



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        44.      Defendants deny the allegations of Paragraph 44 of the Complaint as it relates to

Plaintiff.    The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Therefore, Defendants deny the

allegations in the remaining sentences of Paragraph 44 of the Complaint.

        45.      Defendants deny the allegations of Paragraph 44 of the Complaint as it relates to

Plaintiff.    The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Therefore, Defendants deny the

allegations in the remaining sentences of Paragraph 45 of the Complaint.

        46.      Defendants deny the allegations of Paragraph 46 of the Complaint as it relates to

Plaintiff.    The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Therefore, Defendants deny the

allegations in the remaining sentences of Paragraph 46 of the Complaint.

        47.      Defendants deny the allegations of Paragraph 47 of the Complaint.

        48.      The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Therefore, Defendants deny the

allegations in Paragraph 48 of the Complaint.

        49.      The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Therefore, Defendants deny the

allegations in Paragraph 49 of the Complaint.

        50.      The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Further, the allegations in

Paragraph 50 of the Complaint state a legal conclusion to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 50 of the Complaint.



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        51.     The term “contractors” is overbroad and ambiguous, and Defendants are not able

to determine to whom Plaintiff refers. Therefore, Defendants deny the allegations of Paragraph

51 of the Complaint.

        52.     The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Defendants deny the allegations

in Paragraph 52 of the Complaint.

        53.     Defendants deny the allegations of Paragraph 53 of the Complaint.

                                    VI.     FLSA VIOLATIONS 1

        54.     The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Defendants deny the allegations

in Paragraph 54 of the Complaint.

        55.     The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Defendants deny the allegations

in Paragraph 55 of the Complaint.

        56.     Answering the allegations of numbered paragraph 56 of the Complaint,

Defendants specifically deny violating any laws or engaging in any conduct that support a claim

for relief by Plaintiff. The definition of the Putative Class Members is overbroad and ambiguous,

and Defendants are not able to determine to whom Plaintiff refers.                Defendants deny the

allegations in Paragraph 56 of the Complaint.

                            VII.    OHIO WAGE ACT VIOLATIONS

        57.     Defendants admit that Plaintiff purports to bring this action under the Ohio Wage

Act as a Rule 23 class action. Defendants deny violating any laws supporting a claim for relief


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  Plaintiff’s Headings of his Complaint do not require responses. However, Defendants specifically deny the
allegations contained in Plaintiff’s headings.


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by Plaintiff and deny that this lawsuit is properly maintained as a class or collective action.

Except as expressly admitted, Defendants deny the allegations in Paragraph 57 of the Complaint.

       58.     Defendants deny the allegations of Paragraph 58 of the Complaint.

       59.     Defendants specifically deny that Plaintiff was an employee for purposes of the

Ohio Wage Act.      As it relates to the Plaintiff, Defendants deny they were subject to the

requirements of the Ohio Wage Act as alleged in Paragraph 59 of the Complaint.

       60.     As to Plaintiff, Defendants deny the allegations of Paragraph 60 of the Complaint.

The definition of the Putative Class Members is overbroad and ambiguous, and Defendants are

not able to determine to whom Plaintiff refers.

       61.     Defendants admit that the Ohio Wage Act requires certain overtime pay as to

covered employers and employees. The definition of the Ohio Wage Act Class is overbroad and

ambiguous, and Defendants are not able to determine to whom Plaintiff refers. Defendants deny

the remaining allegations in Paragraph 61 of the Complaint.

       62.     Defendants deny the allegations of Paragraph 62 of the Complaint.

       63.     Defendants admit that Plaintiff purports to bring this action to recover allegedly

unpaid overtime wages and other damages pursuant to Ohio law. The definition of the Ohio

Wage Act Class is overbroad and ambiguous, and Defendants are not able to determine to whom

Plaintiff refers. Defendants deny the allegations in Paragraph 63 of the Complaint.

       64.     Answering the allegations of numbered paragraph 64 of the Complaint,

Defendants admit Plaintiff seeks damages against Defendants, but specifically deny violating any

laws or engaging in any conduct that support a claim for relief by Plaintiff. The definition of the

Ohio Wage Act Class is overbroad and ambiguous, and Defendants are not able to determine to

whom Plaintiff refers.    Except as expressly admitted, Defendants deny the allegations in



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Paragraph 64 of the Complaint.

              VIII. CLASS AND COLLECTIVE ACTION ALLEGATIONS

       65.     Answering Paragraph 65 of the Complaint, Defendants incorporate all of the

preceding paragraphs of this Answer as though fully set forth herein. The definition of the

Putative Class Members is overbroad and ambiguous, and Defendants are not able to determine

to whom Plaintiff refers. Defendants deny all remaining allegations in Paragraph 65 of the

Complaint.

       66.     Defendants deny the allegations of Paragraph 66 of the Complaint.

       67.     Defendants deny the allegations of Paragraph 67 of the Complaint.

       68.     Defendants are without sufficient knowledge or information to admit or deny the

allegations in Paragraph 68 of the Complaint, and therefore such allegations are denied.

       69.     The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Defendants deny the allegations

in Paragraph 69 of the Complaint.

       70.     The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Defendants deny the allegations

in Paragraph 70 of the Complaint.

       71.     The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Defendants deny the allegations

in Paragraph 71 of the Complaint.

       72.     The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Defendants deny the allegations

in Paragraph 72 of the Complaint.



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       73.     The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Defendants deny the allegations

in Paragraph 73 of the Complaint.

       74.     Defendants deny the allegations of Paragraph 74 of the Complaint.

       75.     The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Defendants deny the allegations

in Paragraph 75 of the Complaint.

       76.     The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Defendants deny the allegations

in Paragraph 76 of the Complaint.

       77.     The allegations in Paragraph 77 of the Complaint state a legal conclusion to

which no response is required. To the extent a response is required, Defendants deny the

allegations in Paragraph 77 of the Complaint.

       78.     The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Defendants deny the allegations

in Paragraph 78, including subparts (a)-(f), of the Complaint.

       79.     The definition of the Putative Class Members is overbroad and ambiguous, and

Defendants are not able to determine to whom Plaintiff refers. Further, the allegations in

Paragraph 79 of the Complaint state a legal conclusion to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 79 of the Complaint.

       80.     Defendants are without sufficient knowledge or information to admit or deny the

allegations in Paragraph 80 of the Complaint, and therefore such allegations are denied.

       81.     Defendants deny the allegations of Paragraph 81 of the Complaint.



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                                      IX.     JURY DEMAND

        82.     Answering Paragraph 82, Defendants admit that Plaintiff demands a jury trial.

Defendants deny that Plaintiff is entitled to a jury trial on all claims.

                                     X.      RELIEF SOUGHT

        83.     Defendants deny that Plaintiff is entitled to any relief sought in Paragraph 83 and

all subparts thereto of the Complaint.

        All allegations in the Complaint not expressly admitted are hereby denied.

                           AFFIRMATIVE AND OTHER DEFENSES

        To the extent that any defenses or legal theories asserted herein may be interpreted as

being inconsistent, such defenses or legal theories are hereby pled in the alternative. Subject to

and without waiving the foregoing, and without waiving Plaintiff’s burden to show otherwise,

Defendants plead as follows:

                                          FIRST DEFENSE

        Plaintiff fails to state a claim against Defendants upon which relief can be granted.

                                          SECOND DEFENSE

        Defendants are neither Employers nor Joint-Employers of Plaintiff. This defense may

also apply to the claims of some or all of the class of allegedly similarly situated persons.

                                          THIRD DEFENSE

        Plaintiff’s claims, or the claims he seeks to assert on behalf of others, must fail to the

extent that they are barred by the applicable statute of limitations. The statute of limitations

under the FLSA is two years, unless Plaintiffs can prove a willful violation of the FLSA (in

which case the statute of limitations is three years). Plaintiff’s claims do not arise out of a willful

violation. This defense may also apply to the claims of some or all of the class of allegedly

similarly situated persons.


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                                       FOURTH DEFENSE

       Plaintiff’s claims, or the claims he seeks to assert on behalf of others, for liquidated

damages must fail as Defendants at all times acted in good faith to comply with the law and with

reasonable grounds to believe that their actions did not violate the FLSA. This defense may also

apply to the claims of some or all of the class of allegedly similarly situated persons.

                                        FIFTH DEFENSE

       Plaintiffs’ claims, or the claims he seeks to assert on behalf of others, are barred in

whole or in part by the provisions of Section 10 of the Portal-to-Portal Act, 29 U.S.C. § 259,

because actions taken in connection with Plaintiff’s compensation were done in good faith in

conformity with and reliance upon written administrative regulations, orders, rulings, approvals,

interpretations, and written and unwritten administration practices or enforcement policies of the

Administrator of the Wage and Hour Division of the United States Department of Labor. This

defense may also apply to the claims of some or all of the class of allegedly similarly situated

persons.

                                        SIXTH DEFENSE

       Plaintiff’s claims, or the claims he seeks to assert on behalf of others, are barred in whole

or in part by the provisions of Section 11 of the Portal-to-Portal Act, 29 U.S.C. § 260, because

any acts or omissions giving rise to this action were done in good faith and with reasonable

grounds for believing that the actions or omissions were not a violation of the FLSA. This

defense may also apply to the claims of some or all of the class of allegedly similarly situated

persons.

                                      SEVENTH DEFENSE

       To the extent applicable, Plaintiff’s claims, or the claims of purported class members, are

barred by waiver, release, estoppel, unclean hands, and/or laches.


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                                         EIGHTH DEFENSE

        Plaintiff’s claims are barred because the work performed falls within exemptions,

exclusions, exceptions, or credits provided for under federal law. This defense may also apply to

the claims of some or all of the class of allegedly similarly situated persons.

                                          NINTH DEFENSE

        Some of Plaintiff’s activities do not constitute compensable work time because they were not

an integral and indispensable part of the Plaintiff’s principal work activities, and they, therefore, were

not compensable. This defense may also apply to the claims of some or all of the alleged putative

class members.

                                         TENTH DEFENSE

        Some of Plaintiff’s activities were not compensable work because they were preliminary

and/or postliminary to his principal work activities, and they therefore were not compensable.

This defense may also apply to the claims of some or all of the alleged putative class members.

                                       ELEVENTH DEFENSE

        Plaintiff’s claims are barred by the de minimis doctrine. This defense may also apply to

the claims of some or all of the alleged putative class members.

                                       TWELFTH DEFENSE

        To the extent that Plaintiff’s FLSA claims are not dismissed, the effective date of the

Complaint for Plaintiff, for purposes of determining the relevant time period of this action, is the date

his Notice of Consent was filed with the Court. This defense also applies to the claims of some or all

of the class of allegedly similarly situated persons.

                                      THIRTEENTH DEFENSE

        The Complaint, and each and every cause of action alleged therein, is barred, in whole or in

part, because there was no misclassification of any Plaintiff or putative class or collective action



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members.     The Plaintiff and putative class or collective action members meet the tests for

independent contractor.

                                    FOURTEENTH DEFENSE

        The Complaint, and each and every cause of action alleged therein, is barred, in whole or in

part, to the extent Plaintiff, and/or some or all of the putative class or collective action members

whom Plaintiff seeks to represent contracted to submit all claims against Defendants and/or their

respective payees to binding arbitration, and, therefore, their exclusive remedy is through final and

binding arbitration.

                                  RESERVATION OF RIGHTS

        Defendants hereby reserve the right to assert any affirmative or additional defenses they

discover during the course of this litigation and pray that the Court afford them leave to amend

their Answer and Additional Defenses upon a timely motion requesting the ability to do the

same.

        WHEREFORE, having fully answered, Defendants pray that this action be dismissed,

that Plaintiff and the individuals that Plaintiff seeks to represent take nothing, that Defendants be

awarded their costs and reasonable attorneys’ fees, and that Defendants have such other and

further relief, general and specific, legal and equitable, to which they are justly entitled.




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Dated: November 15, 2017                    Respectfully submitted,



                                            /s/ Alex Frondorf
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                                            CHESAPEAKE OPERATING, INC.
                                            AND CHESAPEAKE OPERATING, LLC




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                                     CERTIFICATE OF SERVICE

        I certify that on November 15, 2017, I filed the foregoing document via the Court’s
electronic filing system, which will automatically serve notice on the following counsel of
record.

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